
Jaipesaud Balkaran, Respondent,
againstLee's Motors, Inc., Doing Business as Lee's Toyota Scion, Appellant. NO. DECIDED Labonte Law Group, PLLC, Stevan H. Labonte, Esq., for appellant. Jaipesaud Balkaran, respondent pro se (no brief filed).



Appeal from a judgment of the Civil Court of the City of New York, Queens County (Cheree A. Buggs, J.), entered October 2, 2014. The judgment, after a nonjury trial, awarded plaintiff the principal sum of $1,695.




ORDERED that the judgment is affirmed, without costs.
Plaintiff commenced this small claims action to recover the cost of two items which he had paid defendant to install on a vehicle plaintiff had purchased from defendant, but which items were never installed. After a nonjury trial, judgment was awarded in favor of plaintiff in the principal sum of $1,695, which, the Civil Court found, represented the price of one of the items, chrome tube steps, which defendant had failed to provide. Defendant appeals.
In a small claims action, our review is limited to a determination of whether "substantial justice has . . . been done between the parties according to the rules and principles of substantive law" (CCA 1807; see CCA 1804; Ross v Friedman, 269 AD2d 584 [2000]; Williams v Roper, 269 AD2d 125 [2000]). The determination of a trier of fact as to issues of credibility is given substantial deference, as a trial court's opportunity to observe and evaluate the testimony and demeanor of the witnesses affords it a better perspective from which to assess their credibility [*2](see Vizzari v State of New York, 184 AD2d 564 [1992]; Kincade v Kincade, 178 AD2d 510, 511 [1991]). This deference applies with greater force to judgments rendered in the Small Claims Part of the court (see Williams v Roper, 269 AD2d at 126). 
As the court's determination is supported by the record and provides the parties with substantial justice (see CCA 1804, 1807), the judgment is affirmed.
Weston, J.P., Pesce and Aliotta, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: April 07, 2017










